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                                       IN THE UNITED STATES DISTRICT COURT
                        :     . ,      FOR THE EASTERN DISTRICT OF VIRGINIA

      APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                     \'^PDS CRIMINAL RULE 57.4
                   In Case Number 6932952            , Case Name United States of America v. Hang Nguyen                 '
                   Party Represented by Applicant: Hand Nguyen
To; The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                    PERSONAL STATEMENT


FULL NAME {no initials, please) Richard Clay Turner
Bar Identification Number 358960                 State DC
Firm Name Sughrue Mion, PLLC
Finn Phone # 202-293-7060                     Direct Dial # 703-462-4630                        FAX # 202-293-7860
E-Mail Address dturner@suqhrue.com
Office Mailing Address 2100 Pennsylvania Ave., NW, Suite 800,Washington,DC 20037

Name{s) of federal court(s) in which 1have beenadmitted ND ofCalifornia, Federal Circuit Court ofAppeals

1certify that the rules of the federal court in the district in which I maintain my office extend a similar/>ro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have notbeen reprimanded inany court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.


1hereby certify that,within ninety (90)days before the submission of this application, 1have read the Local Rules of thisCourt
and thatmy knowledge of theFederal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

1am        am not ^ a full-time employee ofthe United States ofAmerica, and if so, request exemption from the admission fee.
                                                                                      /s/Richard C.Turner
                                                                                      (Applicant's Signature)

1, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.
                                                   /s/Azadeh S.Kokabi                                           12/29/2017
                                                  (Signature)                                                   (Date)
                                                  Azadeh 5. Kokabi                                              71159
                                                            (Typed or Printed Name)                             (VA Bar Number)
Court Use Only:

Clerk's Fee Paid             or Exemption Granted^

The motion for admission is GRANTED                  or DENIED



                                             /s/
                                        Ivan D. Davis
                             United States Magistrate Judge
